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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


   IN RE: ZANTAC (RANITIDINE)                                                        MDL No. 2924
   PRODUCTS LIABILITY                                                                 20-MD-2924
   LITIGATION
                                                          JUDGE ROBIN L. ROSENBERG
                                                MAGISTRATE JUDGE BRUCE E. REINHART

   ________________________________/

   THIS DOCUMENT RELATES TO: ALL CASES

                                   PRETRIAL ORDER # 34
                   Order Regarding Initial Discovery of Generic Manufacturers

          Since the Initial Status Conference, the Plaintiff Co-Leads have met and conferred,

   pursuant to PTO # 16, with the first six generic manufacturer defendants against whom suit was

   brought in this MDL 1 concerning initial production of relevant documents those defendants could

   reasonably produce in the near term, taking into account the limitations currently in effect due to

   COVID-19 restrictions, and a timeline for production of documents that it is agreed should be

   produced but which are not readily obtainable. Those parties have now informed the Court that

   they have reached agreement on certain discovery deadlines and scope of initial production (“Core

   Discovery Agreement”). This Agreement establishes a process for the production of specified

   categories of documents.

          Numerous additional generic manufacturer defendants have been added as parties to this

   MDL in recent weeks. Any generic manufacturer defendant that has agreed to tolling pursuant to

   PTO #’s 15 and 27 may elect to participate in the Core Discovery Agreement. A copy of the Core




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    Apotex Corp., Strides Pharma, Inc., L. Perrigo Company, Glenmark Pharmaceuticals Inc., USA,
   Amneal Pharmaceuticals LLC/Amneal Pharmaceuticals of New York, LLC, and Dr. Reddy’s
   Laboratories, Inc.
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   Discovery Agreement shall be provided to all generic defendants by their liaison counsel. The

   Court encourages all other present and future generic manufacturer defendants to adopt the Core

   Discovery Agreement and to work collaboratively with Plaintiffs through the meet and confer

   process to accomplish an initial document production consistent with the Core Discovery

   Agreement without the necessity of formal discovery requests.

          Any generic manufacturer defendant that has entered a Notice of Appearance (“Existing

   Defendant”) shall have 10 days from the date of this Order to notify Plaintiffs’ Co-Lead counsel

   and the Special Master by email of its desire to be bound by and benefit from the Core Discovery

   Agreement. For Existing Defendants that agree to the Core Discovery Agreement pursuant to this

   paragraph, 2 the calculation of deadlines in the Core Discovery Agreement shall be calculated from

   the date of this Order.

          For any generic manufacturer defendant that has not yet entered a Notice of Appearance

   (“New Defendants”), the defendant shall provide its election on both tolling and the Core

   Discovery Agreement within 21 days of service (as set forth in PTO # 27), unless this is less than

   10 days from the date of this Order, in which case the defendant shall have the full 10 days to make

   the discovery election. For New Defendants, the calculation of deadlines in the Core Discovery

   Agreement shall be calculated from the date the Notice of Appearance is filed.

          Parties that agree to the Core Discovery Agreement (“Participating Defendants”) shall be

   deemed to be in compliance with Federal Rule of Civil Procedure 26(a)(1) but not to have waived

   their rights with respect to subsequent discovery, as set forth in PTO # 30. The Plaintiffs have




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    The original six generic manufacturer defendants are bound by the deadlines agreed to and
   contained in the Core Discovery Agreement.
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   agreed to meet and confer as to any additional non-custodial discovery before serving any formal

   discovery requests.

          Participating Defendants shall begin producing the specified discovery as soon as

   practicable, but no later than set forth in the Core Discovery Agreement, and shall engage in a

   significant rolling production. If a Participating Defendant anticipates undue delay in its ability to

   timely produce materials, it shall notify the Plaintiffs and the Special Master so that an expeditious

   conferral can occur. If the Plaintiffs believe that any Participating Defendant is not making

   meaningful progress toward the timely production contemplated by the Core Discovery

   Agreement, they shall notify the Participating Defendant and the Special Master, then meet and

   confer. If the matter is not resolved, the Plaintiffs may request a determination by the Court that

   meaningful progress is not being made and request dissolution of the Core Discovery Agreement

   and permission to proceed with service of formal discovery under the Federal Rules and the prior

   orders of this Court as to that defendant. Participating Defendants shall complete the discovery

   specified in the Core Discovery Agreement on or before December 31, 2020.

          Under the Core Discovery Agreement, the Plaintiffs and Participating Defendants will

   confer toward the end of the year and take the necessary steps precedent to the timely

   commencement of custodial searching. The Agreement contemplates that the Plaintiffs may begin

   formal service of custodial discovery requests no sooner than January 2, 2021.

          If a generic manufacturer defendant is not eligible for participation in or does not agree to

   be bound by the Core Discovery Agreement within the specified election period, discovery as to

   that defendant may immediately commence consistent with Federal Rule of Civil Procedure 26

   and the prior orders issued in this MDL.




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           The Special Master shall be included in the meet and confer process to the extent possible.

   The Special Master shall have the authorization to extend any deadline with respect to tolling or

   this Order for only a limited period and only with consent of counsel, in order to facilitate the meet

   and confer process. Nothing in this PTO shall be construed to limit a party’s ability to seek relief

   from the Court pursuant to PTO # 32.

           DONE and ORDERED in Chambers, West Palm Beach, Florida, this 13th day of July,

   2020.



                                                  ROBIN L. ROSENBERG
                                                  UNITED STATES DISTRICT JUDGE




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